               Case 2:20-cv-00783-MJP Document 11 Filed 06/05/20 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9

10          WALTER FRANK TAYLOR, et al.,                       CASE NO. C20-783 MJP

11                                  Plaintiffs,                ORDER VACATING CASE
                                                               DEADLINES AND STRIKING
12                  v.                                         PENDING MOTIONS

13          USAA GENERAL INDEMNITY
            COMPANY, et al.,
14
                                    Defendants.
15

16

17          This matter comes before the Court on the Parties’ Notice of Settlement of Action in Its

18   Entirety. (Dkt. No. 10.) Having reviewed the Motion and the related record, the Court hereby

19   VACATES all case management dates and STRIKES all pending motions. The Parties must

20   perfect settlement within 45 days of the date of this order and file their stipulated dismissal of all

21   claims, as described in their Notice, or the Court will reinstate the case management deadlines.

22   //

23   //

24   //



     ORDER VACATING CASE DEADLINES AND STRIKING PENDING MOTIONS - 1
             Case 2:20-cv-00783-MJP Document 11 Filed 06/05/20 Page 2 of 2



 1         The clerk is ordered to provide copies of this order to all counsel.

 2         Dated June 5, 2020.



                                                         A
 3

 4
                                                         Marsha J. Pechman
 5                                                       United States Senior District Judge

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24


     ORDER VACATING CASE DEADLINES AND STRIKING PENDING MOTIONS - 2
